37 F.3d 1495NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Ray Augusta STARKS, Plaintiff Appellant,v.Darnley HODGE, Superintendent;  Lieutenant RonaldWerdebaugh, Medical Supervisor;  Pat Sudduth, HeadNurse, Defendants Appellees.
    No. 94-6781.
    United States Court of Appeals, Fourth Circuit.
    Submitted August 25, 1994.Decided October 13, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-94-3-R)
      Ray Augusta Starks, Appellant Pro Se.
      J. Ross Newell, III, and Jayne Powell Kelley, Timberlake, Smith, Thomas &amp; Moses, P.C., Staunton, VA, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Starks v. Hodge, No. CA-94-3-R (W.D.Va. June 24, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    